Case 01-01139-AMC Doc 2640-10 Filed 09/03/02 Page 1of1

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. GRACE & CO., et al., ) Case No. 01-1139 KF)
) Jointly Administered
Debtors. )
CERTIFICATE OF SERVICE

I, Scotta E. McFarland, hereby certify that on the 30" day of August 2002, I
caused a copy of the following document to be served on the individuals on the attached service
lists in the manner indicated:

1. Third Quarterly Interim Verified Application of Nelson, Mullins,
Riley & Scarborough LLP For Compensation for Services and
Reimbursement of Expenses as Special Counsel to W.R. Grace & Co., et al.,
for the Interim Period From July 19, 2001 Through September 30, 2001; and

2. [Proposed] Order for Compensation for Services and Reimbursement
of Expenses of Nelson Mullins Riley & Scarborough LLP as Special Counsel
to W. R. Grace & Co., et al., for the Interim Period From July 19, 2001

Through September 30, 2001.
Leeitc£ Mabe d

Scotta E. McFarland (DE Bar No. 4184)

91100-CO1\DOCS_DE:53750.1
